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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                    DEL RIO DIVISION

United States of America                         §
                                                 §
vs.                                              §      NO: DR:22-M -01757(2)
                                                 §
(2) Jesus Ivan Valadez                           §

                         ORDER OF DETENTION PENDING TRIAL

      In accordance with the Bail Reform Act, 18 U.S.C. 3142(f), a preliminary and detention

hearing has been held. I conclude that the following facts require the detention of the defendant

pending trial in this case.

                                        I. Findings of Fact

        I find that the credible testimony and information submitted at the hearing establishes by

clear and convincing evidence that there is probable cause to believe that the Defendant

committed the offense alleged in the criminal Complaint, violation 8:1324            Conspiracy to

Transport Illegal Aliens, for which a sentence of up to ten years in prison is prescribed.

        AUSA Paul Markovits called Agent Katrina Smith to testify. Defendant is a citizen of

United States smuggling aliens in the Western District of Texas. At a checkpoint, Defendant was

found to have 2 illegal aliens in the back seat with evidence in defendant's phone confirming the

conspiracy to transport aliens. Defendant has pending State of Texas active warrants.

        Based on Defendant’s offense conduct and criminal history, the Court finds by clear and

convincing evidence that the Defendant poses a serious danger to the community. Because of the

potential sentence if convicted, the Court concludes that the Defendant poses a serious risk of

flight. Additionally the Court concludes there are no conditions or combination of conditions
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that will reasonably assure the appearance of the Defendant as required or to ensure the safety of

the community.

        Accordingly,     the Court concludes that Defendant be DETAINED as there are no

conditions or combinations of conditions        that would reasonably assure the Defendant’s

appearance in court and the safety of the community.

                               II. Directions Regarding Detention

       The Defendant is committed to the custody of the Attorney General or his designated

representative for confinement in a corrections facility separate, to the extent practical, from

persons awaiting or serving sentences or being held in custody pending appeal. The defendant

shall be afforded a reasonable opportunity for private consultation with defense counsel. On

order of theCourt of the United States or on request of an attorney for the Government, the

person in charge of the corrections facility shall deliver the Defendant to the United States

Marshal for the purpose of an appearance in connection with a court proceeding.



           SIGNED on 3rd day of August, 2022




                                                 ______________________________
                                                 VICTOR ROBERTO GARCIA
                                                 UNITED STATES MAGISTRATE JUDGE
